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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


MATTEL, INC.,

Plaintiff,                                                      1:20-CV-11075
                                                                (NRB)
                             v.
                                                                PROTECTIVE ORDER
THE ENTITIES DOING
BUSINESS AS GOODMENOW AT
THE URL GOODMENOW.COM, ET
AL.
Defendants.


NAOMI REICE BUCHWALD, U.S.D.J.

     The    parties     having    agreed    to     the    following     terms   of

confidentiality, and the Court having found that good cause exists

for issuance of an appropriately tailored confidentiality order

governing the pre-trial phase of this action, it is therefore

hereby

     ORDERED that any person subject to this Order -- including

without    limitation      the     parties       to      this     action,     their

representatives,       agents,    experts    and      consultants,      all   third

parties    providing    discovery    in     this      action,     and   all   other

interested persons with actual or constructive notice of this Order

-- shall adhere to the following terms, upon pain of contempt:

     1.     Any person subject to this Order who receives from any

other person any “Discovery Material” (i.e., information of any

kind provided in the course of discovery in this action) that is
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designated as “Confidential” pursuant to the terms of this Order

shall not disclose such Confidential Discovery Material to anyone

else except as expressly permitted hereunder.

     2.   The person producing any given Discovery Material may

designate as Confidential only such portion of such material as

consists of:

          (a)    previously        nondisclosed    financial      information

          (including without limitation profitability reports or

          estimates, percentage fees, design fees, royalty rates,

          minimum    guarantee       payments,    sales   reports      and   sale

          margins);

          (b)    previously        nondisclosed    material     relating       to

          ownership or control of any non-public company;

          (c)    previously    nondisclosed       business    plans,    product

          development information, or marketing plans;

          (d)    any information of a personal or intimate nature

          regarding any individual; or

          (e)    any other category of information hereinafter given

          confidential status by the Court.

     3.   With    respect     to    the   Confidential       portion    of   any

Discovery Material other than deposition transcripts and exhibits,

the producing person or that person's counsel may designate such

portion as “Confidential” by stamping or otherwise clearly marking

as “Confidential” the protected portion in a manner that will not
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interfere with legibility or audibility, and by also producing for

future public use another copy of said Discovery Material with the

confidential information redacted. With respect to deposition

transcripts and exhibits, a producing person or that person's

counsel may indicate on the record that a question calls for

Confidential information, in which case the transcript of the

designated testimony shall be bound in a separate volume and marked

"Confidential Information Governed by Protective Order" by the

reporter.

      4.    If at any time prior to the trial of this action, a

producing    person   realizes       that   some   portion[s]    of   Discovery

Material that that person previously produced without limitation

should be designated as Confidential, he or she may so

designate by so apprising all parties in writing, and such

designated portion[s] of           the   Discovery   Material     will

thereafter    be    treated    as Confidential under the terms of this

Order.

      5.    No person subject to this Order other than the producing

person shall disclose any of the Discovery Material designated by

the   producing     person    as    Confidential     to    any   other   person

whomsoever, except to:

            (a)    the parties to this action;

            (b)    counsel    retained      specifically   for   this    action,

            including any paralegal, clerical and other assistant

            employed by such counsel and assigned to this matter;
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          (c)   as to any document, its author, its addressee, and

          any other person indicated on the face of the document

          as having received a copy;

          (d)   any witness who counsel for a party in good faith

          believes may be called to testify at trial or deposition

          in this action, provided such person has first executed

          a Non-Disclosure Agreement in the form annexed as an

          Exhibit hereto;

          (e)   any person retained by a party to serve as an expert

          witness    or   otherwise    provide    specialized    advice   to

          counsel in connection with this action, provided such

          person has first executed a Non-Disclosure Agreement in

          the form annexed as an Exhibit hereto;

          (f)   stenographers     engaged    to   transcribe    depositions

          conducted in this action; and

          (g)   the Court and its support personnel.

     6.   Prior to any disclosure of any Confidential Discovery

Material to any person referred to in subparagraphs 5(d) or 5(e)

above, such person shall be provided by counsel with a copy of

this Protective Order and shall sign a Non-Disclosure Agreement in

the form annexed as an Exhibit hereto stating that that person has

read this Order and agrees to be bound by its terms.           Said counsel

shall retain each signed Non-Disclosure Agreement, hold it in

escrow, and produce it to opposing counsel either prior to such
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person being permitted to testify (at deposition or trial) or at

the conclusion of the case, whichever comes first.

     7.    All   Confidential    Discovery    Material    filed    with   the

Court, and all portions of pleadings, motions or other papers filed

with the Court that disclose such Confidential Discovery Material,

shall be filed under seal with the Clerk of the Court and kept

under seal until further order of the Court.         The parties will use

their best efforts to minimize such sealing. In any event, any

party filing a motion or any other papers with the Court under

seal shall also publicly file a redacted copy of the same, via the

Court’s Electronic Case Filing system, that redacts only the

Confidential Discovery Material itself, and not text that in no

material way reveals the Confidential Discovery Material.

     8.    Any party who either objects to any designation of

confidentiality,    or   who,   by   contrast,   requests    still   further

limits    on   disclosure   (such     as   “attorneys’    eyes    only”    in

extraordinary circumstances), may at any time prior to the trial

of this action serve upon counsel for the designating person a

written notice stating with particularity the grounds of the

objection or request.       If agreement cannot be reached promptly,

counsel for all affected persons will convene a joint telephone

call with the Court to obtain a ruling.

     9.    All persons are hereby placed on notice that the Court

is unlikely to seal or otherwise afford confidential treatment to
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any Discovery Material introduced in evidence at trial, even if

such   material    has     previously        been    sealed       or    designated    as

Confidential.       The     Court     also    retains      unfettered        discretion

whether or not to afford confidential treatment to any Confidential

Document or information contained in any Confidential Document

submitted to the Court in connection with any motion, application,

or proceeding that may result in an order and/or decision by the

Court.

       10.   Each person who has access to Discovery Material that

has been designated as Confidential shall take all due precautions

to prevent the unauthorized or inadvertent disclosure of such

material.

       11.   If,   in     connection     with       this    litigation,       a     party

inadvertently      discloses    information          subject       to    a   claim    of

attorney-client privilege or attorney work product protection

(“Inadvertently Disclosed Information”), such disclosure shall not

constitute or be deemed a waiver or forfeiture of any claim of

privilege     or   work     product     protection         with    respect     to    the

Inadvertently Disclosed Information and its subject matter.

       12.   If a disclosing party makes a claim of inadvertent

disclosure, the receiving party shall not thereafter review the

Inadvertently Disclosed Information for any purpose, except by

order of the Court.           The receiving party shall, within five

business days, return or destroy all copies of the Inadvertently
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Disclosed Information, and provide a certification of counsel that

all such information has been returned or destroyed.

     13.    Within five business days of the notification that such

Inadvertently     Disclosed      Information    has    been      returned   or

destroyed, the disclosing party shall produce a privilege log with

respect to the Inadvertently Disclosed Information.

     14.    As   with   any   information   redacted       or   withheld,   the

receiving   party   may   move    the   Court   for   an   Order   compelling

production of the Inadvertently Disclosed Information.              The motion

shall be filed under seal, and shall not assert as a ground for

entering such an Order the fact or circumstances of the inadvertent

production.

     15.    The disclosing party retains the burden of establishing

the privileged or protected nature of any Inadvertently Disclosed

Information.     Nothing in this Order shall limit the right of any

party to request an in camera review of the Inadvertently Disclosed

Information.

     16.    This Protective Order shall survive the termination of

the litigation.     Within 30 days of the final disposition of this

action, all Discovery Material designated as “Confidential,” and

all copies thereof, shall be promptly returned to the producing

person, or, upon permission of the producing person, destroyed.

     17.    This Court shall retain jurisdiction over all persons

subject to this Order to the extent necessary to enforce any
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obligations arising hereunder or to impose sanctions for any

contempt thereof.


    SO STIPULATED AND AGREED.


    ___________________________            ___________________________

    Dated:                                 Dated:


    SO ORDERED.




                                  NAOMI REICE BUCHWALD, U.S.D.J.

Dated:    New York, New York
          September 1, 2021
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MATTEL, INC.,

Plaintiff,                                              1:20-CV-11075 (NRB)

                            v.                     NON-DISCLOSURE AGREEMENT

THE ENTITIES DOING
BUSINESS AS GOODMENOW AT
THE URL GOODMENOW.COM, ET
AL.
Defendants.

     I,                             , acknowledge that I have read and

understand the Protective Order in this action governing the non-

disclosure of those portions of Discovery Material that have been

designated as Confidential.      I agree that I will not disclose such

Confidential Discovery Material to anyone other than for purposes

of this litigation and that at the conclusion of the litigation I

will return all discovery information to the party or attorney

from whom I received it.     By acknowledging these obligations under

the Protective Order, I understand that I am submitting myself to

the jurisdiction of the United States District Court for the

Southern District of New York for the purpose of any issue or

dispute arising hereunder and that my willful violation of any

term of the Protective Order could subject me to punishment for

contempt of Court.

     Dated: ___________                        ________________________
